    Case 2:24-cv-00103-JRH-CLR Document 35-2 Filed 09/10/24 Page 1 of 6



                     UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA



STATE OF MISSOURI, et al.,

                Plaintiffs,

        v.                               Case No. 2:24-cv-00103-JRH-BWC

UNITED STATES DEPARTMENT OF
EDUCATION, et al.,

                Defendants.




                               Exhibit 2
                              Stop-Work Orders




                                     i
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From:               Jackson-Harris, Tricia
To:                 "Maximus Next Gen BPO Contracts Team"; "Maximus Next Gen BPO Leadership Team"
Cc:                 Lowe, Eddie; Hawkins Panyard, Gabrielle; Patillo, Aquita; Booker, Anthony; Samuels, Shaun; Lohrenz, Mark;
                    Lewis, Crystal; Folley, Victoria; Johnson, Regena; Harris Jones, Christina; Cruz, Bruce J; Odom, Christian
Subject:            Modification P00009_91003123F0310 | Stop Work Order - SDR | BPO-MAX
Attachments:        91003123F0310 P00009 SF30 09052024 Signed.pdf


Good evening,

The purpose of the attached modification is to issue a Stop Work Order in accordance with
BPO IDIQ Contract clause 52.242-15 Stop Work Order (AUG 1989) for Change Request
(CR) 7109 – BPO Support of Student Debt Relief (SDR). All FSA staff and vendors have
been directed to cease work related to SDR effective immediately. Please see the modification
for details. Further guidance regarding FSA’s course of action will be provided as we receive
updates.

Contractor confirmation of receipt and acknowledgement by email is requested.

Sincerely,

Tricia Jackson-Harris
Executive Business Advisor/Contracting Officer
Federal Student Aid – Acquisitions Directorate
U.S. Department of Education
(202) 377-3978 – Desk
(202) 744-4979 – Cell
Tricia.Jackson-Harris@ed.gov

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     Case 2:24-cv-00103-JRH-CLR Document 35-2 Filed 09/10/24 Page 3 of 6


From:               Jackson-Harris, Tricia
To:                 "BPO Edfinancial"
Cc:                 Lowe, Eddie; Hawkins Panyard, Gabrielle; Patillo, Aquita; Booker, Anthony; Samuels, Shaun; Lohrenz, Mark;
                    Lewis, Crystal; Folley, Victoria; Johnson, Regena; Harris Jones, Christina; Cruz, Bruce J; Odom, Christian
Subject:            Modification P00010_91003123F0308 | Stop Work Order - SDR | BPO-EFS
Attachments:        91003123F0308 P00010 SF30 09052024 Signed.pdf


Good evening,

The purpose of the attached modification is to issue a Stop Work Order in accordance with
BPO IDIQ Contract clause 52.242-15 Stop Work Order (AUG 1989) for Change Request
(CR) 7109 – BPO Support of Student Debt Relief (SDR). All FSA staff and vendors have
been directed to cease work related to SDR effective immediately. Please see the modification
for details. Further guidance regarding FSA’s course of action will be provided as we receive
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Contractor confirmation of receipt and acknowledgement by email is requested.

Sincerely,

Tricia Jackson-Harris
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(202) 744-4979 – Cell
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     Case 2:24-cv-00103-JRH-CLR Document 35-2 Filed 09/10/24 Page 4 of 6


From:               Jackson-Harris, Tricia
To:                 "grp.MOHELANextGenTeam"; "grp.FC-Contracting"
Cc:                 Lowe, Eddie; Hawkins Panyard, Gabrielle; Patillo, Aquita; Booker, Anthony; Samuels, Shaun; Lohrenz, Mark;
                    Lewis, Crystal; Folley, Victoria; Johnson, Regena; Harris Jones, Christina; Cruz, Bruce J; Odom, Christian
Subject:            Modification P00010_91003123F0314 | Stop Work Order - SDR | BPO-MOH
Attachments:        91003123F0314 P00010 SF30 09052024 Signed.pdf


Good evening,

The purpose of the attached modification is to issue a Stop Work Order in accordance with
BPO IDIQ Contract clause 52.242-15 Stop Work Order (AUG 1989) for Change Request
(CR) 7109 – BPO Support of Student Debt Relief (SDR). All FSA staff and vendors have
been directed to cease work related to SDR effective immediately. Please see the modification
for details. Further guidance regarding FSA’s course of action will be provided as we receive
updates.

Contractor confirmation of receipt and acknowledgement by email is requested.

Sincerely,

Tricia Jackson-Harris
Executive Business Advisor/Contracting Officer
Federal Student Aid – Acquisitions Directorate
U.S. Department of Education
(202) 377-3978 – Desk
(202) 744-4979 – Cell
Tricia.Jackson-Harris@ed.gov

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     Case 2:24-cv-00103-JRH-CLR Document 35-2 Filed 09/10/24 Page 5 of 6


From:               Jackson-Harris, Tricia
To:                 "FHCNextGenBPOLeadershipTeam"
Cc:                 Lowe, Eddie; Hawkins Panyard, Gabrielle; Patillo, Aquita; Booker, Anthony; Samuels, Shaun; Lohrenz, Mark;
                    Lewis, Crystal; Folley, Victoria; Johnson, Regena; Harris Jones, Christina; Cruz, Bruce J; Odom, Christian
Subject:            Modification P00011_91003123F0311 | Stop Work Order - SDR | BPO-FHC
Attachments:        91003123F0311 P00011 SF30 09052024 Signed.pdf


Good evening,

The purpose of the attached modification is to issue a Stop Work Order in accordance with
BPO IDIQ Contract clause 52.242-15 Stop Work Order (AUG 1989) for Change Request
(CR) 7109 – BPO Support of Student Debt Relief (SDR). All FSA staff and vendors have
been directed to cease work related to SDR effective immediately. Please see the modification
for details. Further guidance regarding FSA’s course of action will be provided as we receive
updates.

Contractor confirmation of receipt and acknowledgement by email is requested.

Sincerely,

Tricia Jackson-Harris
Executive Business Advisor/Contracting Officer
Federal Student Aid – Acquisitions Directorate
U.S. Department of Education
(202) 377-3978 – Desk
(202) 744-4979 – Cell
Tricia.Jackson-Harris@ed.gov

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    Case 2:24-cv-00103-JRH-CLR Document 35-2 Filed 09/10/24 Page 6 of 6


From:              Mcclam, Jackson
Cc:                Lene, Christina; Brillant, Nannie; FSA ACQ Loan Servicing Team; USDSCORTEAM; Piccolo, Marc; Cox, Brenda;
                   Porter, Katherine
Subject:           USDS - All Servicers - Stop Work Order CR 7037 SDR - USDS Student Debt Relief Discharge Processing
Date:              Thursday, September 5, 2024 5:29:12 PM
Importance:        High


Good afternoon USDS Servicers,

This email serves as official notification of a Stop Work Order in accordance with contract clause
52.242-15 Stop Work Order (AUG 1989) for the CR 7037 SDR - USDS Student Debt Relief Discharge
Processing.

The work to be stopped is as follows: ALL activity related to CR 7037.

Further guidance regarding FSAs course of action will be provided after the Stop Work Order period
ends.

Contractor confirmation of receipt and acknowledgement by email is requested.


Best regards,

              Jackson McClam
              Executive Business Advisor / Contracting Officer
              U.S. Department of Education
              Federal Student Aid, Acquisitions
              (202) 304-2149
